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15
                                 UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17
                                      SAN FRANCISCO DIVISION
18
     IN RE GOOGLE PLAY STORE                             Case No. 3:21-md-02981-JD
19   ANTITRUST LITIGATION
                                                         STIPULATION AND [PROPOSED]
20   THIS DOCUMENT RELATES TO:                           ORDER RE DEPOSITION AND
                                                         DISCOVERY DESIGNATIONS
21
     Epic Games, Inc. v. Google LLC et al.,
     Case No. 3:20-cv-05671-JD                           Judge: Hon. James Donato
22

23   Match Group, LLC, et al., v. Google LLC et al.,
     Case No. 3:22-cv-02746-JD
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               STIPULATION AND [PROPOSED] ORDER RE DEPOSITION AND DISCOVERY DESIGNATIONS
                            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:22-cv-02746-JD
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 1          Defendants Google LLC et al., (“Google”), Plaintiff Epic Games, Inc. (“Epic”), and Plaintiff

 2   Match Group, LLC, et al. (“Match Group”) (collectively, “the Parties”), by and through their

 3   undersigned counsel of record and subject to the Court’s approval, enter into this stipulation with

 4   reference to the following circumstances:

 5          WHEREAS, pursuant to Paragraph 32 of the Court’s Standing Order for Civil Jury Trials, the

 6   Parties are to jointly file all excerpts of affirmative and counter-designations of deposition testimony

 7   and other discovery responses that will be offered by any party at trial for any reason other than

 8   impeachment or rebuttal on November 1, 2023 (“Deposition and Discovery Designations”);

 9          WHEREAS, in the interests of efficiency and minimizing burden on the Court, parties, and

10   non-parties, the parties have conferred and agreed to electronically lodge with the Court (rather than

11   file) all Deposition and Discovery Designations;

12          WHEREAS, the Parties have conferred and agreed that once Deposition and Discovery

13   Designations are used in front of the jury during trial, those designations will be submitted into the trial

14   record and filed on the docket pursuant to the Civil Local Rules or as otherwise ordered by the Court;

15          WHEREAS, the Parties have further conferred and agreed to a modified deposition designation

16   exchange schedule for the deposition of non-party Riot Games, Inc. (“Riot”), which was conducted on

17   October 27, 2023, to permit sufficient time for the parties to exchange their designations and any

18   objections prior to their submission to the Court;

19          NOW, THEREFORE, IT IS STIPULATED AND AGREED, SUBJECT TO THE

20   APPROVAL OF THE COURT:

21               1. The Parties will electronically lodge Deposition and Discovery Designations with the

22   Court on November 1, 2023.

23               2. Once Deposition and Discovery Designations are used in front of the jury during trial,

24   those designations will be submitted into the trial record and filed on the docket pursuant to the Civil

25   Local Rules or as otherwise ordered by the Court.

26               3. The Parties agree to the following deposition designation exchange schedule for the

27   Riot deposition:

28                       a. The Parties agree to exchange initial deposition designations for the Riot
                 STIPULATION AND [PROPOSED] ORDER RE DEPOSITION AND DISCOVERY DESIGNATIONS
                              Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:22-cv-02746-JD
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 1                        deposition on November 1, 2023;

 2                    b. The Parties agree to exchange counter designations and objections to initial

 3                        designations for the Riot deposition on November 3, 2023; and

 4                    c. The Parties agree to lodge their affirmative and counter-designations and any

 5                        objections to the Riot deposition with the Court on November 6, 2023.

 6

 7   Dated: October 30, 2023                   MORGAN, LEWIS & BOCKIUS LLP

 8                                             By: /s/ Michelle Park Chiu
                                                  Michelle Park Chiu
 9
                                                   Counsel for Google
10
     Dated: October 30, 2023                   HUESTON HENNIGAN LLP
11
                                               By: /s/ Douglas J. Dixon
12                                                Douglas J. Dixon

13                                                 Plaintiffs Match Group, LLC, Humor Rainbow, Inc.,
                                                   PlentyofFish Media ULC, and People Media, Inc.
14

15   Dated: October 30, 2023                   CRAVATH, SWAINE & MOORE LLP

16                                             By: /s/ Gary A. Bornstein
                                                  Gary A. Bornstein
17
                                                   Counsel for Plaintiff Epic Games, Inc.
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20         PURSUANT TO STIPULATION, IT IS SO ORDERED

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22
      Dated:
23                                              Honorable James Donato
                                                United States District Judge
24                                              Northern District of California

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                STIPULATION AND [PROPOSED] ORDER RE DEPOSITION AND DISCOVERY DESIGNATIONS
                             Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:22-cv-02746-JD
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 1                                         E-FILING ATTESTATION

 2          I, Michelle Park Chiu, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that each of the signatories

 4   identified above has concurred in this filing.

 5

 6                                                      /s/ Michelle Park Chiu
                                                        Michelle Park Chiu
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                 STIPULATION AND [PROPOSED] ORDER RE DEPOSITION AND DISCOVERY DESIGNATIONS
                              Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:22-cv-02746-JD
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